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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                SOUTHEASTERN DIVISION


UNITED STATES OF AMERICA,                     )
                                              )
                     Plaintiff,               )
                                              )
            v.                                )      No. S1-1:06 CR 134 CDP
                                              )                         DDN
MICHAEL D. MEADOR, et al.,                    )
                                              )
                                              )
                     Defendants.              )


                            REPORT AND RECOMMENDATION
                       OF UNITED STATES MAGISTRATE JUDGE
                         REGARDING JOINDER OR SEVERANCE

     This action is before the Court upon the pretrial motions of
defendant Michael D. Meador.            The pretrial motions of all parties were
referred to the undersigned United States Magistrate Judge pursuant to
28 U.S.C. § 636(b).        An evidentiary hearing on the motions of defendant
Meador was held on August 28, 2007.
     Defendant Michael D. Meador has moved for severance for a separate
trial (Doc. 226). 1        The United States does not oppose the motion.
     Defendant argues that at a joint trial the government would offer
the statement of a co-defendant against that co-defendant which also
incriminates movant Meador.         In such a case, the moving defendant would
be entitled to a separate trial to avoid the prejudice of not being able
to cross-examine the declarant co-defendant.              Bruton v. United States,
391 U.S. 123, 136 (1968).           Such prejudice might be avoided by the
redaction    from    the    statement    of   any   reference   to   the   moving   co-
defendant.       United States v. Bolden, 92 F.3d 686, 687 (8th Cir. 1996).




     1
      At this hearing, the court also took up the pending motion of
defendant Meador to suppress evidence. At the request of the defendant,
the parties were given time to file post-hearing briefs following the
filing of a transcript of the hearing.
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        In this case the government agrees that it has such evidence and
that it presents a substantial Bruton problem. 2         For this reason, the
government does not oppose the motion to sever.
        Whereupon,
        IT IS HEREBY RECOMMENDED that the motion of defendant Michael D.
Meador to sever his case for a trial separate from that of his co-
defendants (Doc. 226) should be sustained.
        The parties are advised they have ten days from this date to file
written objections to this Report and Recommendation.          The failure to
file objections may result in a waiver of the right to appeal issues of
fact.




                                       /S/   David D. Noce
                                    UNITED STATES MAGISTRATE JUDGE



Signed on August 31, 2007.




        2
      At the hearing, counsel for the United States indicated that a
separate trial of defendant Meador would likely take one week.

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